           Case 24-16283-JKS Doc 21-3 Filed 10/15/24 Entered 10/15/24 15:36:04                                                             Desc
                      Exhibit C- PNC Bank Account 5397 Statement Page 1 of 1
Savings Statement
PNC Bank                                                                                                                      PO Box 609
                                                                                                                              Pittsburgh, PA 15230-9738
                                                                                           Primary account number: XX-XXXX-5397
                                                                                           Page 1 of 1
               For the period           08/01/2024 to 08/31/2024                           Number of enclosures:         0

               JEAN PAUL ROMES MD #24-16283                                                       For 24-hour banking, and transaction or
               LISA A ROMES                                                                       interest rate information, sign-on to
               DEBTOR IN POSSESSION                                                               PNC Bank Online Banking at pnc.com
               5125 GLENBROOK RD                                                                  For customer service call 1-888-PNC-BANK
                                                                                                  Para servicio en espanol, 1-866-HOLA-PNC
               STROUDSBURG PA 18360-6793

                                                                                            Moving? Please contact us at 1-888-PNC-BANK
                                                                                                  Visit us at pnc.com


                                                                                                  PNC accepts Telecommunications Relay Service (TRS)
                                                                                                  calls.

                                                                                                                    JEAN PAUL ROMES MD #24-16283
Savings Account Summary                                                                                             LISA A ROMES
Account number:      XX-XXXX-5397                                                                                   DEBTOR IN POSSESSION

Balance Summary
                   Beginning              Deposits and      Checks and other                Ending
                     balance            other additions          deductions                balance
                15,527.20                18,525.19                1,000.00              33,052.39


Interest Summary                                                                                           As of 08/31, a total of $.39 in interest
                                                                                                           was paid this year.
             Annual Percentage Number of days in          Average collected            Interest
           Yield Earned (APYE)    interest period         balance for APYE          Earned this
                                                                                        period
                      0.01%                     31            22,098.98                     .19


Activity Detail
Deposits and Other Additions                                                                               There were 4 Deposits and Other
Date                           Amount       Description                                                    Additions totaling $18,525.19.
08/05                   5,500.00            Online Transfer From   0                           2001
08/23                      25.00            Twh Auto Transfer From                            2001
08/27                  13,000.00            Online Transfer From                               2001
08/31                        .19            Interest Payment
Online and Electronic Banking Deductions                                                                   There was 1 Online or Electronic
Date                           Amount       Description                                                    Banking Deduction totaling
                                                                                                           $1,000.00.
08/22                   1,000.00            Online Transfer To                                2001
Daily Balance Detail
Date                 Balance                Date                  Balance        Date                  Balance          Date             Balance
08/01             15,527.20                 08/22              20,027.20         08/27               33,052.20          08/31         33,052.39
08/05             21,027.20                 08/23              20,052.20




Member FDIC                                                                    Equal Housing Lender
